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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


     In re:                                                            Chapter 11

     23ANDME HOLDING CO., et al.,1                                     Case No. 25-40976-357

                              Debtors.                                 (Jointly Administered)


                        MOTION FOR ENTRY OF AN ORDER
      (A) (I) ENFORCING THE AUTOMATIC STAY OR (II) , IN THE ALTERNATIVE,
      EXTENDING THE AUTOMATIC STAY; AND (B) ENJOINING THE CONTINUED
                  PROSECUTION OF THE CANADIAN PROCEEDINGS

              The above-captioned debtors and debtors in possession (collectively, the “Debtors”) in

 these chapter 11 cases (the “Chapter 11 Cases”), by and through the undersigned counsel, hereby

 move this Court for entry of an order (a) (i) confirming that the automatic stay under section 362

 of title 11 of the United States Code (the “Bankruptcy Code”) prohibits the continued prosecution

 of the below-defined Canadian Proceedings, including as against the below-defined Additional

 Defendants, or, in the alternative, or (ii) in the alternative, extending the automatic stay to the

 Additional Defendants in the Canadian Proceedings, and (b) enjoining, pursuant to section 105 of

 the Bankruptcy Code, the continued prosecution of the Canadian Proceedings, including against

 the below-defined Additional Defendants during the pendency of these Chapter 11 Cases (the

 “Motion”). Respondents J.R. and M.M. (together, “Respondents”) are named plaintiffs in two

 class action lawsuits filed in the Supreme Court of British Columbia against Debtors 23andMe




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       The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
       Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
       (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
       LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter
       11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
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 Holding Co. and 23andMe, Inc. (together, “23andMe”) and the Additional Defendants, based on

 a cybersecurity breach of the Debtors’ customer data systems. J.R. & M.M. v. 23andMe Holding

 Co., et al., No. VLC-S-S-2465520 (Can. B.C. S.C.) (the “Debtor and D&O Action”); J.R. v.

 23andMe Holding Co. & 23andMe, Inc., No. S237147 (Can. B.C. S.C.) (the “Debtor Action” and,

 together with the Debtor and D&O Action, the “Canadian Proceedings”). In support of this

 Motion, and upon the Declaration of Max H. Siegel (“Siegel Decl.”) and Declaration of Mary

 Buttery (“Buttery Decl.”) filed contemporaneously herewith, Debtors respectfully state and allege

 as follows:

                                 PRELIMINARY STATEMENT

        1.      Respondents’ Canadian Proceedings bring claims based on identical conduct—the

 Cyber Security Incident defined below—to the class action pending in the U.S. District Court for

 the Northern District of California, In re 23andMe, Inc. Customer Data Sec. Breach Litig., Case

 No. 24-md-3098 (N.D. Cal.), and numerous state court lawsuits and arbitrations commenced in

 the United States, which are the subject of pre-petition settlement agreements (collectively, the

 “U.S. Actions”). See Buttery Decl. ¶¶ 2–3. But, although the Canadian Proceedings are based on

 the same underlying conduct as the U.S. Actions, they also go further than any of the U.S. Actions

 by naming as defendants certain current and former directors, officers, and employees of the

 Debtors, as well as the Debtors’ auditor, KPMG LLP (United States) (“KPMG”). See id. ¶ 2.

 Although the Canadian Proceedings name additional defendants, they do not plead any claims or

 liability theories against those individuals that are different from the claims asserted against the

 Debtors. Id. ¶ 16.

        2.      By prosecuting these claims against the Debtors in a foreign forum, the Canadian

 Proceedings threaten the orderly administration of the Chapter 11 Cases, and impair the value of




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 the Debtors’ assets. The plaintiffs in the Canadian Proceedings also cannot avoid application of

 the automatic stay through artful pleading against the Additional Defendants based on conclusory

 allegations that the Additional Defendants are all “co-principals and/or co-conspirators” with the

 Debtors. See Buttery Decl., Ex. C. ¶¶ 6, 9, 47. The Canadian Proceedings and the claims against

 the Additional Defendants are all premised on the alleged liability of the Debtors for a cyber

 security incident, and those claims cannot possibly proceed without causing harm to the Debtors,

 or without the participation of the Debtors.

        3.      Respondents first filed the Debtor Action against 23andMe, which is

 unquestionably subject to the automatic stay. Respondents later filed the Debtor and D&O Action,

 which merely names the Additional Defendants in addition to the Debtors, and are currently

 seeking leave to add the Additional Defendants to the Debtor Action. Buttery Decl. ¶ 22. Although

 there are two Canadian Proceedings, they are for all intents and purposes asserting the same claims,

 on behalf of the same putative class. See id. ¶ 3; compare Buttery Decl., Ex. A ¶ 16 (Debtor Action

 class definition), with Buttery Decl., Ex. C ¶ 17 (Debtor and D&O Action class definition). The

 two cases contain duplicative claims against the Debtors, and the Debtor and D&O Action also

 names as defendants Anne Wojcicki, Roelof Botha, Patrick Chung, Peter J. Taylor, and David

 Baker (collectively, the “Individual Defendants”)—who are current and former directors, officers,

 and employees of the Debtors—and the Debtors’ auditor, KPMG (together with the Individual

 Defendants, the “Additional Defendants”). Buttery Decl. ¶ 2. All the claims against the Additional

 Defendants are also asserted against the Debtors. Id. ¶ 16. Respondents apparently dispute

 whether the automatic stay of 11 U.S.C. § 362 applies. Indeed, as described further below, they

 recently filed a proposed amended pleading in the Debtor Action, which adds the Additional




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 Defendants but continues to assert claims against the Debtors, in clear violation of the automatic

 stay. See id. ¶ 18; Buttery Decl., Ex. D (proposed amended pleading).

         4.      Respondents’ claims against the Additional Defendants are indistinguishable from

 the claims against the Debtors, and so any further prosecution of the Additional Defendants for

 those claims would, in substance, allow claims against the Debtors outside of the Chapter 11 Cases.

 Moreover, the Debtors have indemnification obligations to the directors and officers named as

 Individual Defendants—including for damages and litigation expenses, including attorneys’

 fees—and thus the prosecution of claims against them threatens the assets of the estate and the

 interests of creditors as well. See Siegel Decl., Ex. A at 11 § 8.2(a); Siegel Decl., Ex. C at 4

 § 9(2)(a).

         5.      Discovery obligations in the Canadian Proceedings—for claims against the

 Debtors, the Individual Defendants, or KPMG—will also disrupt the operations and value of the

 Debtors, as well as the ability of their directors and officers to perform their duties diligently during

 the Chapter 11 Cases. Discovery has not yet occurred in the Canadian Proceedings and the relevant

 documents regarding the underlying Cyber Security Incident are in the possession of the Debtors.

 And the adjudication of the Canadian Proceedings Action against the Additional Defendants

 without the participation of the Debtors threatens to prejudice the Debtors with respect to defenses

 they would otherwise assert in the Canadian Proceedings.

         6.      Because the Canadian Proceedings, including with respect to the Additional

 Defendants, threaten the Debtors and the Chapter 11 Cases, they violate the automatic stay, and

 the Debtors respectfully request that the Court enter an order to that effect. In the alternative, the

 Debtors respectfully request that the Court extend the automatic stay to apply to the Additional

 Defendants with respect to the claims asserted against them in the Canadian Proceedings. The




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 Debtors further respectfully request that the Court enter an injunction prohibiting the continued

 prosecution of the Canadian Proceedings, including as against the Additional Defendants.

                                   JURISDICTION AND VENUE

         7.      The Court has subject matter jurisdiction over this Motion pursuant to 28 U.S.C.

 § 1334. Arising-under and arising-in jurisdiction exist over this action because this Motion seeks

 to confirm that the automatic stay bars the claims against the Additional Defendants in the

 Canadian Proceedings. Related-to jurisdiction exists over the claims against the Debtors and the

 non-debtor Additional Defendants because (i) the Motion concerns claims against the Debtors that

 unquestionably violate the automatic stay, (ii) the Debtors and the Additional Defendants (as

 defined below) share an identity of interest, and (iii) continued prosecution of the Canadian

 Proceedings would divert critical estate resources away from the Debtors’ Chapter 11 Cases.

         8.      Pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), the Debtors consent to the entry of a final order by the Court in connection

 with the Motion to the extent that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments consistent with Article III of the United States Constitution.

         9.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         10.     The Debtors previously filed the Debtors’ Adversary Complaint for Declaratory

 and Injunctive Relief, ECF No. 230 (the “Adversary Complaint”), seeking the relief sought herein.

 The Debtors and the Respondents subsequently agreed to litigate the relief sought herein via

 motion practice, as opposed to an adversary complaint. Pursuant to the Stipulation of Dismissal

 Without Prejudice, entered on May 20, 2025, the Debtors withdrew the Adversary Complaint

 without prejudice, and Respondents consented to the Debtors’ seeking such relief by motion.

 23&me Holding Co. v. J.R., Adv. Proc. No. 25-04011 (Bankr. E.D. Mo.), ECF No. 4.




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                                        BACKGROUND

 I.     The Debtors’ Business and the Additional Defendants

        11.     As further set forth in the Declaration of Matthew Kvarda in Support of Chapter

 11 Petitions and First Day Motions, Case No. 25-40976 (Bankr. E.D. Mo.), ECF No. 32, which

 the Debtors expressly incorporate by reference herein, the Debtors operate, among other things, a

 leading human genetics and telehealth company with a mission to help people access, understand,

 and benefit from the human genome. The Debtors pioneered direct-to-consumer genetic testing

 through their saliva collection kits, providing customers with access to unique, personalized

 information about their ancestry, genetic traits, and health risks through their Personal Genome

 Service® offerings.

        12.     Anne Wojcicki is the co-founder, former chair (and current member) of the board

 of directors, and former chief executive officer of 23andMe.

        13.     Roelof Botha is a former director of 23andMe and a former member of its audit

 committee.

        14.     Patrick Chung is a former director of 23andMe and a former member of its audit

 committee.

        15.     Peter J. Taylor is a former director of 23andMe and the former chair of its audit

 committee.

        16.     David Baker is a former employee who served as the chief security officer of

 23andMe.

        17.     KPMG has provided services as the Debtors’ auditor.




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 II.    The Cyber Security Incident

        18.     On October 1, 2023, a threat actor posted online a claim to have 23andMe users’

 profile information (the “Cyber Security Incident”). Upon learning of the incident, the Company

 immediately commenced an investigation and engaged third-party incident response experts to

 assist in determining the extent of any unauthorized activity. Based on its investigation, the

 Company determined the threat actor was able to access a very small percentage (0.1%) of user

 accounts in instances where usernames and passwords that were used on the Company website

 were the same as those used on other websites that had been previously compromised or were

 otherwise available. Through their access to the foregoing accounts, the threat actor accessed files

 containing information that users consented to share when opting into certain 23andMe service

 offerings. Accordingly, the Company determined that the threat actor ultimately accessed, without

 authorization, personal information relating to approximately seven million customers. See

 Kvarda Decl. ¶ 64.

        19.     The Cyber Security Incident resulted in numerous actions being filed or threatened

 against the Company in United States federal and state courts, Canada, and the United Kingdom,

 as well as the initiation of various domestic and foreign governmental investigations.

 III.   Respondents Bring Litigation Against the Debtors and the Additional Defendants

        20.     Respondents are purported customers of 23andMe. They claim to have purchased

 and used its products. Buttery Decl. ¶ 3. Following the Cyber Security Incident, Respondents

 brought two class action litigations against 23andMe and the Individual Defendants related to the

 Cyber Security Incident. Id. ¶ 2.

        21.     On October 20, 2023, Respondents filed the Debtor Action against 23andMe in the

 Supreme Court of British Columbia. Id. ¶ 5. They asserted claims related to the Cyber Security

 Incident and brought claims for breaches of provincial privacy legislation, intrusion upon


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 seclusion, breaches of provincial consumer legislation, breach of contract, negligence, and breach

 of the Competition Act. Id. ¶ 6. Then, nearly a year later, they sought to amend their pleading to

 add the Additional Defendants. Id. ¶ 10. At that stage in the proceedings, under Canadian law,

 leave of court would have been required to add additional defendants. See id. ¶ 11. Rather than

 seek leave of court, Respondents instead filed the Debtor and D&O Action. Id. ¶ 15.

        22.     The Debtor and D&O Action, filed on September 18, 2024, names 23andMe, the

 Individual Defendants, and KPMG as defendants. Buttery Decl., Ex. C ¶¶ 18–20, 34–40. The

 Debtor and D&O Action brings many duplicative claims against 23andMe. Buttery Decl. ¶ 16. It

 also names the Individual Defendants and KPMG as defendants to these very same claims—that

 is, there is no claim against the Individual Defendants and/or KPMG in which the Debtors are not

 also defendants. Id. For the avoidance of doubt, the Debtor and D&O Action is not a separate

 lawsuit where directors and officers are alleged to have breached any duty apart from any duty

 owed by the Debtors to their customers. See id. Nor, for that matter, are there any unique claims

 against the Additional Defendants alone. Id. Instead, the Additional Defendants are merely co-

 defendants in a large subset of the claims against the Debtors—the same claims alleged in the

 Debtor Action. Id.

        23.     The Debtor and D&O Action alleges that the Debtors and the Additional

 Defendants willfully, knowingly, recklessly, deliberately, and purposefully maintained improper

 data retention and protection measures and practices. See Buttery Decl., Ex. C ¶¶ 9–10, 119–32.

 This purportedly resulted in the availability of class members’ data for sale on the dark web. Id.

 ¶ 66. Respondents here, the plaintiffs in the Canadian Proceedings, have brought the Debtor and

 D&O Action on behalf of a putative class of “[a]ll natural persons residing or domiciled in Canada

 whose sensitive personal information was accessed by unauthorized parties or otherwise




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 compromised in the course of or as a result of the Data Breach.” Id. ¶ 11. This is the exact same

 putative class as in the Debtor Action. See Buttery Decl., Ex. A ¶ 16.        Respondents here, the

 plaintiffs in the Canadian Proceedings, assert claims jointly against 23andMe and the Individual

 Defendants claims for breach of provincial privacy legislation, intrusion upon seclusion,

 negligence, and breach of the Competition Act. Buttery Decl., Ex. C ¶ 13. They assert additional

 causes of action against 23andMe, including breach of provincial consumer legislation and breach

 of the terms of services. Id. These too overlap with the claims asserted in the Debtor Action.

        24.     Respondents here, the plaintiffs in the Canadian Proceedings, allege that they

 suffered harms, damages, and losses as a result of 23andMe and the Additional Defendants’

 conduct, including economic loss; loss of valuable, confidential information; damages from

 identity fraud schemes; non-pecuniary harms, including emotional distress and anxiety; out-of-

 pocket expenses; loss of valuable time and resources; and exposure to a real risk of significant

 harm as a result of the exposure of highly sensitive personal and commercial information. Id.

 ¶¶ 159–65.

        25.     In the Canadian Proceedings, they seek “monetary compensation to the Class for

 general, compensatory, consequential, symbolic, moral, aggravated, punitive or other forms of

 damages, whether statutory, at common law and/or equity, on an aggregated basis to the fullest

 extent possible,” pre- and post-judgment interest, and expenses. Buttery Decl., Ex. C, part 2, ¶ 1.

 They claim entitlement to “monetary awards or compensation under common law, statutory and/or

 equitable headings of damages,” as well as “disgorgement,” “accounting,” or “such other

 restitutionary relief as may be available for all revenues or profits generated by the Respondents

 from, as a result of, or reasonably connected with its [sic] violations contractually and at law to

 protect their private information.” Buttery Decl., Ex. C, part 3, ¶¶ 64–65.




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          26.   All of the claims against the Individual Defendants are identical to claims brought

 against the Debtors in both the Debtor Action and the Debtor and D&O Action. Buttery Decl.

 ¶ 16. The Debtors are necessary parties in the Debtor and D&O Action, but the Debtor and D&O

 Action, like the Debtor Action, is unquestionably stayed as to the Debtors by operation of the

 automatic stay. Resolution of the claims in the Debtor and D&O Action and any underlying issues

 without the participation of the Debtors may be prejudicial to the Debtors’ right to present a

 defense in each of the Canadian Proceedings.

          27.   Any documents and communications relevant to Respondents’ claims against the

 Additional Defendants are in the Debtors’ possession.       All of the claims in the Canadian

 Proceedings are based on conduct by the Debtors, and thus any discovery would be in the Debtors’

 possession. The claims in the Canadian Proceedings do not allege any actions by the Individual

 Defendants other than participating in the Debtors’ conduct and do not allege any conduct by

 KPMG. Thus, the Additional Defendants will not possess any discoverable materials. By allowing

 the Debtor and D&O Action to proceed, the Debtors could become subject to costly and

 burdensome discovery obligations—disrupting the Debtors’ operations, depleting the value

 available to creditors, and interfering with the prompt and orderly disposition of the Chapter 11

 Cases.

          28.   Transparently, the claims against the Additional Defendants are an effort to avoid

 the automatic stay and recover from the Additional Defendants for alleged misconduct by the

 Debtors. Not only did Respondents file the Debtor Action followed by the Debtor and D&O

 Action, asserting the same claims against both the Debtors and the Additional Defendants; they

 have since sought to amend the complaint in the Debtor Action to a near copycat of their complaint

 in the Debtor and D&O Action. The Proposed Amended Complaint is attached to the Declaration




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 of Mary Buttery as Exhibit D and a redline comparison of the Proposed Amended Complaint and

 the complaint in the Debtor and D&O Action is attached to the Declaration of Max H. Siegel as

 Exhibit E. Tellingly, paragraph 22 of the Proposed Amended Complaint expressly alleges as

 follows:

                On March 24, 2025, 23andMe commenced insolvency proceedings under
                Chapter 11 of the United States Bankruptcy Code, in order to “maximize
                stakeholder value” and “to facilitate a sale process to maximize the value of its
                business,” according to 23andMe. These events further revealed the inherently
                dangerous and potentially harmful nature of 23andMe’s products and offerings, and
                raised significant concerns regarding the integrity and security of customer data.

 Buttery Decl., Ex. D ¶ 22. In other words, Respondents are continuing to prosecute (indeed,

 expanding) the Debtor Action with full knowledge of these Chapter 11 Cases and seek to use the

 existence of the Chapter 11 Cases to further their claims against the Debtors, all in violation of the

 automatic stay.

        29.     The Proposed Amended Complaint merely strips a variety of paragraphs from the

 Debtor and D&O Action Complaint and adds six non-substantive allegations, most of which are

 variants of the allegation that 23andMe’s product offerings were “potentially harmful.” Siegel

 Decl., Ex. D ¶¶ 19–22; Siegel Decl., Ex. D, part 2 ¶ 17. And it broadens the putative class

 definition such that, among other things, it now includes 23andMe customers whose data was not

 breached, if they merely “provided a bodily substance sample containing their DNA to 23andMe

 at any time since 23andMe’s inception.” Buttery Decl., Ex. D ¶ 8. Absent relief from this Court,

 the duplicative claims against the Debtors and the Additional Defendants in the Canadian

 Proceedings will only continue to multiply.

 IV.    The Debtors’ Indemnity Agreements and Insurance Policies

        30.     23andMe Holding Co. is governed by the Certificate of Incorporation dated

 June 16, 2021, as amended on October 11, 2024. Siegel Decl., Ex. A (2021 Certificate of



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 Incorporation); Siegel Decl., Ex. B (showing 2024 amendments not pertinent to this Motion).

 Section 8.2(a) of the Certificate of Incorporation provides, creates broad indemnification

 obligations:

                To the fullest extent permitted by Delaware law, as the same exists or may hereafter
                be amended, the Corporation shall indemnify, defend and hold harmless each
                person who is or was made a party or is threatened to be made a party to or is
                otherwise involved in any threatened, pending or completed action, suit,
                investigation, arbitration or proceeding, whether civil, criminal, administrative or
                investigative (a “proceeding”) by reason of the fact that he or she is or was a director
                or officer of the Corporation or any of its subsidiaries or, while a director or officer
                of the Corporation or any of its subsidiaries, is or was serving at the request of the
                Corporation as a director, officer, employee or agent of another corporation or of a
                partnership, joint venture, trust, other enterprise or nonprofit entity, including
                service with respect to an employee benefit plan (an “indemnitee”),whether the
                basis of such proceeding is alleged action in an official capacity as a director,
                officer, employee or agent, or in any other capacity while serving as a director,
                officer, employee or agent, against all liability and loss suffered and expenses
                (including, without limitation, attorneys’ fees, judgments, fines, ERISA excise
                taxes, and penalties and amounts paid in settlement) reasonably incurred by such
                indemnitee in connection with such proceeding.

 Siegel Decl., Ex. A at 11 § 8.2(a).

        31.     23andMe, Inc. is governed by the Certificate of Incorporation dated June 16, 2021,

 which creates broad indemnification obligations:

                Each person (and the heirs, executors or administrators of such person) who was or
                is a party or is threatened to be made a party to, or is involved in any threatened,
                pending or completed action, suit or proceeding, whether civil, criminal,
                administrative or investigative, by reason of the fact that such person is or was a
                director or officer of the Corporation or is or was serving at the request of the
                Corporation as a director or officer of another corporation, partnership, joint
                venture, trust or other enterprise, shall be indemnified and held harmless by the
                Corporation to the fullest extent permitted by Delaware Law.

 Siegel Decl., Ex. C at 4 § 9(2)(a).

        32.     Under these provisions, any judgment against the director and officer Individual

 Defendants could create indemnification obligations for the Debtors. The Canadian Proceedings,




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 therefore, threaten to deplete the value of the estate, diminish the value available to creditors, and

 impair the operations of the Debtors in these Chapter 11 Cases.

 V.     The Debtors Institute These Chapter 11 Case

        33.     On March 23, 2025, the Debtors filed voluntary petitions for relief under chapter 11

 of the Bankruptcy Code. On March 27, 2025, the Court entered an order authorizing the joint

 administration of the Chapter 11 Cases, pursuant to Bankruptcy Rule 1015(b). The Debtors are

 operating their businesses and managing their property as debtors in possession, pursuant to 11

 U.S.C. §§ 1107(a) and 1108.

        34.     On May 15, 2025, Matthew Kvarda, as foreign representative of the Debtors,

 commenced foreign recognition proceedings under the Companies’ Creditors Arrangement Act

 (“CCAA”), which applies in Canada. On May 20, 2025, a Canadian insolvency judge held a

 hearing on that application. Buttery Decl. ¶ 26.

 VI.    The Debtors File an Adversary Proceeding

        35.     On April 14, 2025, Debtors filed the Adversary Complaint, commencing an

 adversary proceeding against Respondents and seeking (a) (i) a declaration that the automatic stay

 already stays the Canadian Proceedings, including as to the D&O Defendants, under Section 362

 of the Bankruptcy Code, 11 U.S.C. § 362, or, (ii) in the alternative, an extension of the automatic

 stay under Section 362 of the Bankruptcy Code to the D&O Defendants with respect to the

 Canadian proceedings; and (b) an order enjoining the continued prosecution of the Canadian

 Proceedings under Section 105 of the Bankruptcy Code. The adversary proceeding is captioned

 23andMe Holding Co. v. J.R., No. 25-04011.

        36.     On May 20, 2024, the Debtors and the Respondents entered into the Stipulation of

 Dismissal Without Prejudice. In the Stipulation of Dismissal Without Prejudice, the Debtors and




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 Respondents stipulated and agreed that (1) the adversary proceeding was dismissed without

 prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii); (2) the Debtors may pursue the relief they

 sought in the adversary proceeding by filing a motion before this Court; and (3) the Defendants

 would not argue in any forum that the relief requested was improper because it was sought by

 motion rather than in an adversary proceeding or on the grounds that service was ineffective, but

 reserved all other defenses.

                                        BASES FOR RELIEF

 I.      The Court Should Confirm That the Automatic Stay Applies to the Claims Against
         All Defendants in the Canadian Proceedings or, in the Alternative, Extend the Stay
         to the Additional Defendants

         37.     The Bankruptcy Code’s automatic stay provision bars the Canadian Proceedings.

 A bankruptcy petition operates as a stay, applicable of all entities, of “the commencement or

 continuation . . . of a judicial, administrative, or other action or proceeding against the debtor that

 was or could have been commenced before the commencement of the case under [Chapter 11],”

 or “any act to obtain possession of property of the estate or of property from the estate or to exercise

 control over property of the estate.” 11 U.S.C. § 362(a)(1), (3). “The automatic stay serves the

 debtor's interests by protecting the estate from dismemberment, and it also benefits creditors as a

 group by preventing individual creditors from pursuing their own interests to the detriment of the

 others.” City of Chicago v. Fulton, 592 U.S. 154, 157 (2021).

         38.     The Canadian Proceedings are barred because 23andMe Holding Co. and 23andMe,

 Inc. are Debtors in the Chapter 11 Cases and the Additional Defendants share an identity of interest

 with the Debtors.

         39.     “[B]ankruptcy court[s] can stay cases against non-debtors . . . where ‘there is such

 identity between the debtor and the third-party defendant that the debtor may be said to be the real

 party defendant and that a judgment against the third-party defendant will in effect be a judgment


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 or finding against the debtor.’” Ritchie Cap. Mgmt., L.L.C. v. Jeffries, 653 F.3d 755, 762 (8th Cir.

 2011) (quoting McCartney v. Integra Nat’l Bank N., 106 F.3d 506, 510 (3d Cir. 1997), and citing

 A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986)); see also Nat’l Bank of Ark. v.

 Panther Mtn. Land Dev., LLC (In re Panther Mtn. Land Dev., LLC), 686 F.3d 916, 921–23 (8th

 Cir. 2012); accord, e.g., Reliant Energy Servs. v. Enron Can. Corp., 349 F.3d 816, 825 (5th Cir.

 2003); see also In re W. Robidoux, Inc., 2022 WL 17620269, at *9 (W.D. Mo. Dec. 13, 2022)

 ([T]he Court agrees that § 362(a)(1) stays proceedings to collect claims against debtors, even if

 the lawsuit or proceedings attempting to do so are against a non-debtor.”).

        40.     Here, there is a clear identity of interest between the Debtors and the Additional

 Defendants such that a judgment against the Additional Defendants would, in effect, be a judgment

 or finding against the Debtors.           The bases for this identity of interest include (1) the

 indemnification provisions in the Certificates of Incorporation, which apply to the Individual

 Defendants (but not KPMG), (2) the Debtors’ possession of relevant discovery in the both

 Canadian Proceedings, and (3) the overlapping—indeed, identical—claims against the Debtors

 and the Additional Defendants in the Canadian Proceedings, which cannot be fairly adjudicated

 without the Debtors’ participation. See, e.g., In re Edgeworth, 993 F.2d 51, 55–56 (5th Cir. 1993)

 (holding that overriding question when determining whether insurance proceeds are property of

 the estate is whether debtor would have the right to receive and keep those proceeds); Ritchie, 653

 F.3d at 762–63; Lomas Fin. Corp. v. N. Tr. Co. (In re Lomas Fin. Corp.), 117 B.R. 64, 68

 (S.D.N.Y. 1990) (holding that the Bankruptcy Court appropriately stayed action against a non-

 debtor third party pursuant to § 362(a)(1) where debtor was obligated to indemnify non-debtors

 with respect to claims in that action).




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        41.     A bankruptcy court should also apply the automatic stay to a non-debtor when “a

 claim against the non-debtor will have an immediate adverse economic consequence for the

 debtor’s estate.” Ritchie, 653 F.3d at 763 (quoting Queenie Ltd. v. Nygard Int’l, 321 F.3d 282,

 287 (2d Cir. 2003)). Prosecution of the Canadian Proceedings against the Additional Defendants

 while the Chapter 11 Cases are pending would cause adverse economic consequences for the estate

 by potentially forcing the Debtors to indemnify the Individual Defendants and sacrifice coverage

 to satisfy estate claims under their insurance policies—depriving the estate and creditors of value.

 It would also cause adverse economic consequences by subjecting the Debtors to burdensome

 discovery and potentially prejudicing their ability to present a defense to claims brought jointly

 against the Debtors and the Additional Defendants, which comprise all claims brought against the

 Additional Defendants.

        42.     In the alternative, if the automatic stay does not apply to Additional Defendants in

 the Canadian Proceedings, the Court should enter an order extending the automatic stay to prevent

 the continued prosecution of claims against the Additional Defendants in the Canadian

 Proceedings. “Extending the stay is warranted where there is a ‘sufficient nexus’ between a debtor

 corporation and its members and an extension of the stay would ‘contribute to the debtor’s

 reorganization efforts.’” In re Bailey Ridge P’rs, LLC, 571 B.R. 430, 438 (Bankr. N.D. Iowa 2017)

 (quoting In re Metro Square, 1988 WL 86679, at *5 (Bankr. D. Minn. Aug. 10, 1988)). The facts

 that confirm that the stay applies also, in the alternative, confirm that the stay should be extended.

 For example, courts extend the automatic stay to directors and officers when “there is an

 entitlement to indemnification between the debtor and its officers and directors.” Am. Film Techs.,

 Inc. v. Taritero (In re Am. Film Techs. Inc.), 175 B.R. 847, 853 (Bankr. D. Del. 1994). Likewise,

 the burdens of discovery and the threat of prejudice if the Canadian Proceedings continue as to the




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 Additional Defendants without the Debtors’ participation continue all create a “nexus” between

 the Debtors and the Additional Defendants, such that extending the stay would “contribute to the

 [Debtors’] reorganization efforts.” Bailey Ridge, 571 B.R. at 438. Those efforts would be

 impeded if the Debtors were forced into the discovery process or the Debtors had liability

 adjudicated without their participation. Accordingly, if the automatic stay does not apply to the

 Additional Defendants in the Canadian Proceedings (it does), the Court should enter an order

 extending the automatic stay.

 II.    The Court Should Enjoin the Continued Prosecution of the Canadian Proceedings

        43.     Section 105(a) of the Bankruptcy Code permits the bankruptcy court to issue any

 order “necessary or appropriate” to assure the administration of the Debtors’ bankruptcy estate,

 including issuing injunctions to prohibit continued litigation against non-debtors and/or to extend

 the automatic stay to non-debtors. 11 U.S.C. § 105(a). “[C]ourts have granted injunctions, at least

 on a temporary basis, to restrain actions against a principal of the debtor upon a showing that the

 non-debtor’s time, energy and commitment to the debtor are necessary for the formulation of a

 reorganization plan.” Bailey Ridge, 571 B.R. at 438 (Bankr. N.D. Iowa 2017) (quoting In re Three

 Seas Realty II, L.L.C., 2010 WL 2857598, at *3 (Bankr. N.D. Iowa July 19, 2010)).

        44.     “In deciding whether to enjoin lawsuits under § 105, the Court considers the

 following factors: (1) whether there is a likelihood of a successful reorganization; (2) whether

 there is imminent irreparable harm to the estate in the absence of an injunction; (3) whether the

 balance of harms tips in favor of the moving party; and (4) whether the public interest weighs in

 favor of an injunction.” Id.

        45.     As to the first factor, for the reasons discussed in the Declaration of Matthew

 Kvarda in Support of Chapter 11 Petitions and First Day Pleadings, Case No. 25-40976 (Bankr.

 E.D. Mo.), ECF No. 32, among others, there is a strong likelihood of a successful reorganization.


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 At this point, the Debtors have conducted a value-maximizing auction of the Debtors’ assets and

 filed a notice of successful a backup bidders. See Notice of Successful and Backup Bidders with

 Respect to Debtors’ Assets, ECF No. 420.

        46.     As to the second factor, an injunction is necessary to prevent irreparable harm to

 the Debtors and their estates for five reasons.

        47.     First, any attempt to obtain a judgment against the Additional Defendants, if

 successful, would prejudice the Debtors, but the “Debtors will not have an opportunity to defend

 their conduct or products.” In re W.R. Grace & Co., 386 B.R. 17, 34 (Bankr. D. Del. 2008); see

 also Whittaker, Clark & Daniels, Inc., 2024 WL 4579207, at *9 (Bankr. D.N.J. Oct. 24, 2024)

 (enjoining lawsuit because “continuation of the Direct Claims presents the potential consequences

 of adverse judgments and litigation prejudice in the form of res judicata, collateral estoppel, and

 record taint.”). There are also numerous creditors asserting claims against the Debtors directly in

 these Chapter 11 Cases, and so any attempt to litigate those exact same issues in Canada against

 proxy defendants for the Debtors creates a manifest risk of inconsistent adjudications. Bankruptcy

 courts routinely grant injunctions when the prosecution of lawsuits during a chapter 11 case would

 create the risk of inconsistent judgments. See, e.g., In re Johns-Manville Corp., 91 B.R. 225, 230

 (Bankr. S.D.N.Y. 1988) (granting injunction because “[a]ny inconsistent and conflicting judicial

 decisions regarding the insurance policies would not merely jeopardize but would undoubtedly

 destroy six years of negotiations and settlements.” ); In re Excel Innovations, Inc., 2006 WL

 6810922, at *10 (B.A.P. 9th Cir. Oct. 24, 2006) (affirming injunction because “inconsistent results

 could complicate Excel's litigation with Appellants, as well as any claim proceedings in respect to

 Hoffman's proof of claim for indemnification”). This concern is especially severe here, where

 Respondents’ claims against the Additional Defendants are entirely based on conduct of the




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 Debtors, and thus the adjudication of the Canadian Proceedings even as to the Additional

 Defendants.

        48.     Second, continued prosecution of the Canadian Proceedings will result in imminent

 financial loss to the estate. “[C]ontinued litigation in the [Canadian Proceedings] will have an

 adverse impact on the bankruptcy estate” by “impair[ing] reorganization efforts and drain[ing]

 resources and time.” In re LTL Mgmt., LLC, 645 B.R. 59, 82 (Bankr. D.N.J. 2022). If the Canadian

 Proceedings are not enjoined, the Debtors will need “to employ counsel and spend a substantial

 amount of time and effort defending such actions, and their assets could be substantially depleted.”

 In re Lazarus Burman Assocs., 161 B.R. 891, 901 (Bankr. E.D.N.Y. 1993); see also, e.g., In re

 LTL Mgmt., LLC, 638 B.R. 291, 307 (Bankr. D.N.J. 2022) (applying automatic stay to non-debtors

 where “continued litigation against the [p]rotected [p]arties would divert funds and resources

 toward defense costs and potentially disrupt the flow of funds and resources” towards debtor’s

 estates). Even if the Canadian Proceedings were to continue only as to the Additional Defendants,

 the Debtors would nonetheless be dragged through the litigation because all potentially relevant

 discovery materials are in the Debtors’ possession, and thus the Debtors may be forced to deal

 with a costly discovery process in another forum. The Debtors will also face indemnification

 claims which will deplete the estate.

        49.     Third, continued prosecution of the Canadian Proceedings would distract the

 Debtors’ key employees and divert time and resources away from the Debtors’ restructuring,

 potentially threatening the Debtors’ ability to swiftly and efficiently resolve these Chapter 11

 Cases. See, e.g., In re Ionosphere Clubs, Inc., 111 B.R. 423, 435 (Bankr. S.D.N.Y. 1990)

 (enjoining non-debtors from continuing lawsuit “[b]ecause the suit would ultimately divert the

 debtor’s resources and attention from the bankruptcy process.”). Even if the litigation is only




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 pursued against Additional Defendants, because the issues entirely revolve around the Debtors

 corporate conduct, the cases there cannot be litigated without the oversight and attention of the

 Debtors’ current management team (none of whom are even defendants). “[T]he Principals’ time

 and energy would be distracted both from the Debtors’ daily business affairs and from the Debtors'

 progressing toward a plan of reorganization.” In re Lazarus Burman., 161 B.R. at 901; see also

 In re SVB Fin. Grp., 2023 WL 2962212, at *8 (Bankr. S.D.N.Y. Apr. 14, 2023) (granting

 injunction because “the Arbitrations would divert attention away from the Debtor's

 restructuring.”); In re PTI Holding Corp., 346 B.R. 820, 827 (Bankr. D. Nev. 2006) (granting

 injunction because “[t]he testimony is uncontradicted that [officer defendants] are each necessary

 to any successful reorganization of Homestead. It is also uncontradicted that diversion of the

 brothers' time would harm Homestead by depriving it of key players at a time that their services

 would be necessary in formulating a plan of reorganization, or in promoting or otherwise furthering

 Homestead's business.).

        50.     Fourth, continued prosecution of the Canadian Proceedings, including against the

 Additional Defendants, could make the Debtors liable for indemnification. As discussed above,

 the Debtors have contractual indemnification obligations towards the D&O Defendants, which is

 a well-established basis for enjoining litigation. See, e.g., W.R. Grace & Co., 386 B.R. at 34

 (granting injunction because defendant in non-bankruptcy action had contractual indemnification

 rights against debtors); see also Lomas, 117 B.R. at 68; Am. Film Techs, 175 B.R. at 853. And the

 Canadian Proceedings could deplete insurance proceeds otherwise available to fund recovery to

 creditors based on estate claims, if any are identified during the Chapter 11 Cases.

        51.     Finally, the continuation of the Canadian Proceedings would frustrate the purpose

 of the Automatic Stay—to provide debtors with a “breathing spell” to allow them to focus on the




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 bankruptcy proceedings. In re Commonwealth Oil Ref. Co., Inc., 805 F.2d 1175, 1182 (5th Cir.

 1986).

          52.   As to the third factor, in contrast to the immediate and irreparable harm the Debtors

 and their estates would face if injunctive relief is denied, the only potential harm faced by

 Defendants is delay caused by applying the automatic stay to the Canadian Proceedings during the

 pendency of the Debtors’ Chapter 11 Cases. Mere delay as a result of an injunction issued until

 bankruptcy proceedings are resolved is not a significant harm. In re Lazarus Burnam Assocs., 161

 B.R. at 901. Thus, the balance of equities weighs in the Debtors’ favor.

          53.   As to the fourth factor, public interest favors an injunction, which would enable the

 Debtors to maximize the value of their estates for the benefit of all stakeholders—a paramount

 goal of the Bankruptcy Code.

          54.   Accordingly, the Debtors are entitled to an injunction preventing the continued

 prosecution of the Canadian Proceedings during these Chapter 11 Cases.

                                          CONCLUSION

          WHEREFORE, Debtors 23&me Holding Co. respectfully request that this Court enter a

 an order (a) (i) confirming that the automatic stay prohibits the continued prosecution of the

 Canadian Proceedings, including as against the Additional Defendants, or (ii) in the alternative,

 extending the automatic stay to the Additional Defendants in the Canadian Proceedings; and

 (b) enjoining the continued prosecution of the Canadian Proceedings, including against the

 Additional Defendants, during the pendency of these Chapter 11 Cases.




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